Case 5:17-cv-00220-LHK Document 982-1 Filed 12/11/18 Page 1 of 10




                  EXHIBIT 1
               to Declaration of
               Steven M. Geisler

                     (Redacted)
   Case 5:17-cv-00220-LHK Document 982-1 Filed 12/11/18 Page 2 of 10
          UNREDACTED VERSION OF DOCUMENTS SOUGHT TO BE SEALED



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                    JIAN XIN DING - 03/12/2018                     ·

 ·1· · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA
 · · · · · · · · · · · SAN JOSE DIVISION
 ·3

 ·4 FEDERAL TRADE COMMISSION,· · )
 · · · · · · · · · · · · · · · · )
 ·5· · · · · · · · Plaintiff,· · )
 · · · · · · · · · · · · · · · · )
 ·6· · · · · · · · VS.· · · · · ·)        CASE NO.
 · · · · · · · · · · · · · · · · )        17-CV-00220-LHK-NMC
 ·7 QUALCOMM INCORPORATED, a· · ·)
 · ·Delaware Corporation,· · · · )
 ·8· · · · · · · · · · · · · · · )
 · · · · · · · · · Defendant.· · )
 ·9· · · · · · · · · · · · · · · )
 · · · · · · · · · · · · · · · · )
 10 In re:· Qualcomm Antitrust· ·)        CASE NO.
 · ·Litigation· · · · · · · · · ·)        17-ND-02773-LHK-NMC
 11 _____________________________)

 12· · · · · · · UNITED STATES DISTRICT COURT

 13· · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

 14 _____________________________
 · ·IN RE:· QUALCOMM LITIGATION· ) CASE NO.
 15 _____________________________) 3:17-CV-00108-GPC-MOD

 16· · · · · · · · · **HIGHLY CONFIDENTIAL
 · · · · · · · · · ·ATTORNEY'S EYES ONLY**
 17

 18· · · · ·VIDEOTAPED DEPOSITION OF JIAN XIN DING

 19· · · · · · · · · · · · HONG KONG

 20· · · · · · · · ·Monday, March 12, 2018

 21

 22

 23

 24 REPORTED BY:
 · ·HEATHERLYNN GONZALEZ
 25 CSR #13646


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·1 Qualcomm has never interrupted Huawei's chip supply

·2 to your knowledge?

·3· · ·A· ·Because I was not involved in the

·4 implementation of that agreement, I just can say that

·5 I didn't hear -- I didn't hear my colleague or say

·6 Qualcomm stopped the supply chip.· I didn't hear

·7 that.

·8· · ·Q· ·So again, to your knowledge, you don't know

·9 of any instance in which Qualcomm interrupted

10 Huawei's chip supply; right?

11· · · · ·MR. GIARDINA:· Objection.· Asked and

12 answered.

13· · · · ·THE WITNESS:· No, I don't know.

14 BY MR. KENNAMER:

15· ·




        Qualcomm has not interrupted Huawei's chip

19 supply; right?

20· · ·A· ·My knowledge is that from the first quarter

21 of the '17 until now, they didn't.

22· · ·Q· ·Are you aware of any instance in which

23 Qualcomm ever threatened to stop supplying base band

24 processor chips to Huawei?

25· · ·A· ·Yes, I know -- I know once or twice.
· · · · · · · · · · · · · · · · · · · · · · · · ·Page
       Case 5:17-cv-00220-LHK Document 982-1 Filed 12/11/18 Page 4 of 10
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     ·1· · ·Q· ·What instance are you referring to -- or                                               11:27:30

     ·2 instances?                                                                                     11:27:31

     ·3· · ·A· ·In 2013, we have a CDMA -- CDMA license                                                11:27:45

     ·4 agreement with Qualcomm.· And in 2013, that agreement                                          11:27:51

     ·5 is -- was closed to the termination.· So when we want                                          11:27:59
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                                       JIAN XIN DING - 03/12/2018
     ·6 to renegotiate with Qualcomm, the framework of the                                             11:28:04

     ·7 license between two companies, the Qualcomm's -- that                                          11:28:16

     ·8 should be the president of the QTL, their technical                                            11:28:20

     ·9 licensing departments sent me an e-mail and say that                                           11:28:27

     10 Huawei may have a problem to use their chip set if we                                          11:28:31

     11 couldn't intend to renew the agreements.· With that                                            11:28:39

     12 time that we already use their competitor for ten                                              11:28:43

     13 years.                                                                                         11:28:46

     14· · ·Q· ·That's one instance, you mentioned I know                                              11:28:58

     15 once or twice, is there another instance that you can                                          11:29:03

     16 think of in which you believe Qualcomm threatened to                                           11:29:08

     17 stop supplying chips to Huawei?                                                                11:29:12

     18· · ·A· ·After the -- after the president of the QTL                                            11:29:37

     19 raise that issue, we have some e-mail back and forth.                                          11:29:41

     20 And it seems I remember he repeatedly emphasized that                                          11:29:47

     21 Huawei may have DTI
                         problem         to use it -- use their CDMA
                            Court Reporting Solutions - New York
                                                                                                       11:29:52
                    1-800-325-3376                                www.deposition.com

     22 chip set.· So when I say once or twice I mean we have                                          11:29:57

     23 this kind of discussion happen once or twice.                                                  11:30:00

     24· · ·Q· ·I see.· So you're referring to the same                                                11:30:03

     25 product.· The CDMA license agreement.· You're                                                  11:30:11
     · · · · · · · · · · · · · · · · · · · · · · · · ·Page


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       Case 5:17-cv-00220-LHK Document 982-1 Filed 12/11/18 Page 5 of 10
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     ·1 referring to -- strike that.                                                                   11:30:12

     ·2· · · · ·You're referring to the 2013 renewal of the                                            11:30:16

     ·3 CDMA license agreement; right?                                                                 11:30:18

     ·4· · ·A· ·Yes.                                                                                   11:30:19

     ·5· · ·Q· ·And all of these instances that you're                                                 11:30:22
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                                       JIAN XIN DING - 03/12/2018
     ·6 referring to that you interpreted as threats all                                               11:30:26

     ·7 relate to that one instance; right?                                                            11:30:28

     ·8· · ·A· ·Yes.                                                                                   11:30:40

     ·9· · ·Q· ·You're not aware of any other instance;                                                11:30:43

     10 right?                                                                                         11:30:45

     11· · ·A· ·So far, I cannot remember other instance.                                              11:30:50

     12· · ·Q· ·I'm going to show you what's been previously                                           11:32:17

     13 marked as CX5224-1 through, looks like, three.· And                                            11:32:29

     14 this is an e-mail -- well I'm referring to, at least                                           11:32:48

     15 for now, the second e-mail on the string on the first                                          11:32:51

     16 page from Eric Reifschneider.                                                                  11:32:54

     17· · · · ·Dated Tuesday 7.                                                                       11:32:59

     18· · · · ·THE REPORTER:· I'm sorry.· The month?                                                  11:33:00

     19· · · · ·MR. KENNAMER:· May 7th, 2013.· Sorry.                                                  11:33:12

     20· · ·Q· ·And it's addressed to Mr. Cheng at Huawei                                              11:33:17

     21 and copies, among    other people, you, is that right?
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                                                                                                       11:33:23
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     22· · ·A· ·Yes.                                                                                   11:33:31

     23· · ·Q· ·And Mr. Reifschneider is raising an issue                                              11:33:41

     24 which you're raising which is the CDMA license                                                 11:33:45

     25 agreement SULA is going to expire soon.· Correct?                                              11:33:55
     · · · · · · · · · · · · · · · · · · · · · · · · ·Page


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       Case 5:17-cv-00220-LHK Document 982-1 Filed 12/11/18 Page 6 of 10
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     ·1· · ·A· ·Yes.                                                                                    11:34:15

     ·2· · ·Q· ·And he's writing, is he not, that Qualcomm                                              11:34:28

     ·3 might not sell chips to Huawei -- CDMA chips if                                                 11:34:35

     ·4 Huawei were to become unlicensed.· Isn't that right?                                            11:34:42

     ·5· · ·A· ·Yes.                                                                                    11:34:54
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                                        JIAN XIN DING - 03/12/2018
     ·6· · ·Q· ·And in fact, didn't Mr. Reifschneider offer                                             11:34:57

     ·7 an interim license to Huawei while they tried to work                                           11:35:01

     ·8 out this issue to a resolution?                                                                 11:35:07

     ·9· · ·A· ·Can you repeat your question.                                                           11:35:21

     10· · ·Q· ·Sure.· As part of this negotiation, didn't                                              11:35:26

     11 Mr. Reifschneider offer an interim license to Huawei                                            11:35:32

     12 while both sides tried to arrive at a permanent                                                 11:35:36

     13 agreement?                                                                                      11:35:38

     14· · ·A· ·This happened in -- almost five years ago.                                              11:36:01

     15 I couldn't recall whether they provided a temporary                                             11:36:07

     16 agreement.· I couldn't recall.                                                                  11:36:09

     17· · ·Q· ·My question is whether he offered to do                                                 11:36:11

     18 that.                                                                                           11:36:15

     19· · ·A· ·My experience is that sometimes Qualcomm, if                                            11:36:32

     20 they have some negotiation with you couldn't make                                               11:36:34

     21 sometimes they extend        that to you.· But regarding
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                                                                                                        11:36:41
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     22 this particular negotiation I would just have been                                              11:36:46

     23 involved in the e-mail list.· At that time, Mr. Cheng                                           11:36:51

     24 handled the -- has a direct conversation with Ms. --                                            11:36:55

     25 Mr. Reifschneider.· So I don't remember the if they                                             11:37:01
     · · · · · · · · · · · · · · · · · · · · · · · · ·Page


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       Case 5:17-cv-00220-LHK Document 982-1 Filed 12/11/18 Page 7 of 10
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     ·1 offered a temporary agreement to us.                                                           11:37:05

     ·2· · ·Q· ·Can I ask you why you interpret this as a                                              11:37:45

     ·3 threat to stop supplying CDMA chips?                                                           11:37:53

     ·4· · ·A· ·Normally the communication between companies                                           11:38:14

     ·5 will keep, you know, even there is some difficult y,                                           11:38:18
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                                       JIAN XIN DING - 03/12/2018
     ·6 the parties will keep very amicable conversation.                                              11:38:23

     ·7 But here, the words and sentence, the tone is strong                                           11:38:27

     ·8 enough to give us the feeling if we don't extend the                                           11:38:35

     ·9 CDMA license agreements, they will stop the supply of                                          11:38:39

     10 CDMA chip set.· I -- I believe it's clear in this                                              11:38:44

     11 sentence.                                                                                      11:38:44

     12· · ·Q· ·If you look at point 5 in                                                              11:38:51

     13 Mr. Reifschneider's e-mail, is that what you're                                                11:38:57

     14 referring to when you say I believe it's clear in                                              11:39:00

     15 this sentence?                                                                                 11:39:01

     16· · ·A· ·Yes.                                                                                   11:39:17

     17· · ·Q· ·Okay.· He writes ways to avoid any                                                     11:39:24

     18 disruption in chip set supply at the end of this                                               11:39:28

     19 month without creating undue risk for either party                                             11:39:32

     20 the simplest being for Huawei to exercise its right                                            11:39:36

     21 to renew the C2KDTIlicense         agreement under which it has
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                                                                                                       11:39:42
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     22 been operating successfully for the last ten years.                                            11:39:45

     23 When he writes C2K license agreement is he referring                                           11:39:50

     24 to CDMA?                                                                                       11:39:53

     25· · ·A· ·Yes.· It is.                                                                           11:40:18
     · · · · · · · · · · · · · · · · · · · · · · · · ·Page


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       Case 5:17-cv-00220-LHK Document 982-1 Filed 12/11/18 Page 8 of 10
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     ·1· · ·Q· ·Okay.· He writes the simplest being for                                                11:40:21

     ·2 Huawei to exercise it's right to renew the C2K                                                 11:40:25

     ·3 license agreement.· Correct?                                                                   11:40:30

     ·4· · ·A· ·Yes.                                                                                   11:40:39

     ·5· · ·Q· ·He's not saying it's the only way to avoid a                                           11:40:42
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     ·6 disruption in the CDMA chip supply; right?                                                     11:40:46

     ·7· · ·A· ·During the negotiation they didn't provide                                             11:40:58

     ·8 other alternative ways.· If -- in fact, this is the                                            11:41:05

     ·9 only way.                                                                                      11:41:09

     10· · ·Q· ·You're saying during the course of the                                                 11:41:16

     11 negotiations, Qualcomm offered no other alternatives                                           11:41:21

     12 other than an immediate renewal for a ten-year term                                            11:41:30

     13 of the CDMA license agreement?                                                                 11:41:34

     14· · ·A· ·Qualcomm is a very special patent license                                              11:42:01

     15 program.· Normally, we have this kind of license                                               11:42:05

     16 discussion with other license source, the parties                                              11:42:09

     17 will show the patents, the value of the patents in                                             11:42:14

     18 the discussion.· And you know, after the bargain back                                          11:42:20

     19 and forth and finally signed agreements, but                                                   11:42:26

     20 Qualcomm, we never -- they never provide you know                                              11:42:31

     21 similar way to negotiate           that way.· So they just ask
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                                                                                                       11:42:37
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     22 us to enter into the -- the -- the license agreements                                          11:42:44

     23 to ensure the supply of the chip sets.                                                         11:42:48

     24· · ·Q· ·And that was something that you knew, having                                           11:42:58

     25 entered into a ten-year -- and when I say "you," I                                             11:43:03
     · · · · · · · · · · · · · · · · · · · · · · · · ·Page


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       Case 5:17-cv-00220-LHK Document 982-1 Filed 12/11/18 Page 9 of 10
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     ·1 mean Huawei.· That's something that Huawei knew                                                11:43:07

     ·2 having already entered into a ten-year license                                                 11:43:11

     ·3 agreement for CDMA chips; right?                                                               11:43:15

     ·4· · · · ·MR. GIARDINA:· Objection to form.                                                      11:43:20

     ·5· · · · ·THE WITNESS:· Repeat the question.· What                                               11:43:37
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     ·6 kind of arrangement?                                                                           11:43:40

     ·7 BY MR. KENNAMER:                                                                               11:43:40

     ·8· · ·Q· ·You knew that Qualcomm required a license                                              11:43:51

     ·9 agreement; right?· Yes?                                                                        11:43:59

     10· · ·A· ·Yes.                                                                                   11:44:00

     11· · ·Q· ·Huawei knew that because it had already                                                11:44:02

     12 entered into the license agreement for CDMA chips                                              11:44:07

     13 that was about to expire in 2013; right?                                                       11:44:15

     14· · ·A· ·Yes.· They know.                                                                       11:44:30

     15· · ·Q· ·So there is no surprise at work here in year                                           11:44:38

     16 ten of the ten-year license agreement for CDMA chips,                                          11:44:43

     17 Huawei knows that Qualcomm will want a renewed                                                 11:44:49

     18 license; right?                                                                                11:44:53

     19· · ·A· ·Yes, we knew.                                                                          11:45:13

     20· · ·Q· ·And is it correct that prior to receiving                                              11:45:18

     21 this e-mail in which       you're copied, Huawei and
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                                                                                                       11:45:24
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     22 Qualcomm had been discussing license renewal for CDMA                                          11:45:30

     23 chips?                                                                                         11:45:35

     24· · ·A· ·Yeah.· I believe that before this                                                      11:45:52

     25 communication happened in May, I believe there's some                                          11:45:56
     · · · · · · · · · · · · · · · · · · · · · · · · ·Page


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  Case 5:17-cv-00220-LHK Document 982-1 Filed 12/11/18 Page 10 of 10
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 ·2· · ·I, Heatherlynn Gonzalez, a Certified Shorthand
 ·3 Reporter, hereby certify that the witness in the
 ·4 foregoing deposition was by me duly sworn to tell the
 ·5 truth, the whole truth, and nothing but the truth in
 ·6 the within-entitled cause; that said deposition was
 ·7 taken down in shorthand by me, a disinterested
 ·8 person, at the time place therein stated; and that
 ·9 the testimony of said witness was thereafter reduced
 10 to typewriting, by computer, under my direction and
 11 supervision;
 12· · ·That before completion of the deposition, that
 13 review of the transcript was offered.· If requested,
 14 any changes made by the deponent (and provided to the
 15 reporter) during the period allowed are appended
 16 hereto.
 17· · ·I further certify that I am not of counsel or
 18 attorney for either or any of the parties to the said
 19 deposition, nor in any way interested in the event of
 20 cause, and that I'm not related to any of the parties
 21 thereto.
 22 Dated:· Monday, March 12, 2018
 23
 24· · · · · ·__________________________________
 25· · · · · · ·Heatherlynn Gonzalez, CSR 13646


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